     Case 24-13354-djb         Doc 27 Filed 03/06/25 Entered 03/07/25 16:37:04                     Desc Order
                                  Confirming Ch. 13 Plan Page 1 of 1
Form 155 (2/24)


                   IN THE UNITED STATES BANKRUPTCY COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

IN RE:                                                    )
    Joanne M. Galligan                                    )           Case No. 24−13354−djb
                                                          )
                                                          )
     Debtor(s).                                           )           Chapter: 13
                                                          )
                                                          )


                      ORDER CONFIRMING PLAN UNDER CHAPTER 13
       AND NOW, upon consideration of the plan submitted by the debtor under chapter 13 of title 11 U.S.C. and
the standing trustee's report which has been filed; and it appearing that:

      A. a meeting of creditors upon notice pursuant to 11 U.S.C. 341 (a) and a confirmation hearing upon notice
having been held;

        B. the plan complies with the provisions of 11 U.S.C. 1322 and 1325 and with other applicable provisions of
title 11 U.S.C.;

      C. any fee, charge or amount required under chapter 13 of title 28 or by the plan, to be paid before
confirmation, has been paid;

WHEREFORE, it is ORDERED that the plan is CONFIRMED.


Date: March 6, 2025                                                  For The Court

                                                                     Derek J Baker
                                                                     Judge, United States Bankruptcy Court
